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                    EXHIBIT 18
    Case 2:10-md-02179-CJB-DPC Document 11988-19 Filed 12/16/13 Page 2 of 6




             Tom Schedler                          State of                     COMMERCIAL DIVISION
                                                   Louisiana                          225.925.4704
           Secretary of State
                                                   Secretary of
                                                   State
                                                                                       Fax Numbers
                                                           ,“,                 2259325317 (Admin. Services)
                                                                                225.932,5314 (Corporations)
                                                                 .1                 225932.5318 (UCC)
                                                           1’—



Name                       Type                                       City                        Status

CROWN, LLC                 Limitea Liability Company                  NEW ORLEANS                 Active

Business:                  CROWN, LLC
Charter Number:            40182208K
Registration Date:         4/16/2010
State Of Origin:

Domicile Address

             935 GRAVIER STREET
             STE. 600
             NEW ORLEANS, LA 70112
Mailing Address

             dO LIONEt SUTTON III
             935 GRAVIER STREET, STE. 600
             NEW ORLEANS, LA 70112

Status
Status:                    Active

Annual Report 5tatus:      Not In Good Standing for failure to file Annual Report

File Date:                 4/16/2010
Last Report Filed:         3/23/2012
Type:                      Limited Uability Company


Registered Agent(s)
Agent:               LIONEL SUTTON, III
Address 1;           935 GRAVIER STREET
Address 2:           STE. 600
City, State, Zip:    NEW ORLEANS, LA 70112

::h1tmeh1t           4/16/2010

Officer(s)                                                                                  Additional Officers; No

Officer:             L[ONh SUTTON, Ill
Title:               Manager
Address 1:           935 GRAVIER STREET




                                                                                                                SM-O1 -GL00578
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Address 2:          STE. 600
City, State, Zip:   NEW ORLEANS, LA 70112

Officer:            JOEY DARTEZ
Title:              Member
Address 1:          118 N. RICHELIEU CIRCLE
City, State, Zip:   NEW IBERiA, LA 70560

Officer:            TIM ELMHUR5T
Title:              Memoer
Address 1:          2704 BRISTOL ROAD
City, State, Zip:   COLUMBUS, OH 43221

Officer:            GLEN LERNER
Title:              Member
Address 1           7801 CALLE CABELLEROS
City, State, Zip:   PARADISE VALLEY, AZ 85253



Amendments on File
No Amendments on file
                                                Pnnt




                                                                     SM-O1 -GL00579
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   Case 2:10-md-02179-CJB-DPC Document 11988-19 Filed 12/16/13 Page 5 of 6


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    Water Reclamation Solutions




                                             •    nfo@crowncteanwater.om        I   *.   1 L4S92.32 30




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                                       •




    Leadership


        Glen Lerner, Chairman

        Glen Lerner is an attorney by profession and has built one of the largest and most
        recognized injury law practices in the United States. As Chairman of Crown LLC, he is
        using the same skills that have made his law practice so successful to take Crown from the
        conception phase to a full-fledged business entity. Glens strong vision and entrepreneurial
        spirit, combined with his position as lead investor, have positioned Crown LLC as a global
        Leader in water reclamation solutions.


        Email: GLen
        Phone: 702.877.1500


        MichaeL Bryant, CEO

        Tim Elm hurst, VP Business Development and Marketing




crarwet.cxLieadshJ




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    Case 2:10-md-02179-CJB-DPC Document 11988-19 Filed 12/16/13 Page 6 of 6



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         bout us                   Our Technoloqy          [h rrown Promise        Cjntact Us
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         Crovn LLC is a povate                             Crown clean vater       Crown LLC Corporate
         corporation oferng          Recycle     ow-back   process produces the    Offices:
          :t effecte.                & projrc.-rd water    iu%e5t waste stream

                s ue wate            at e1L hnacr          and lowesr discharge    I;’2A Britimoore
         eclamation sotution                               at any competitor out   Road
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         for ndustnal                                      there whnre level of    Houston, TX 77043
                                     rita drilling pries
         wastewater                                        dsrarq’ meuies          kflnie + 1-83) -831-
         restoratan. Our             Recycle               level of etcency).      6945
         mission is to help          containment ponds
         reclaim the earths          at centrlzed hubs                             935 Gravier Street,
         natural rescijrces that     thrcgnout the U.S.                            Sute 1910
         hae been harmed                                                           New Orleans, LA
                                     Desahnate process
         through the quest for                                                     70112
                                     r qr.iiprnent
         energy nIependence                                                        Phonc. +1-504-592-

         and other factors                                                         3230




         Ccyrgri 2C   Ciown LLC




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